                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                     3:08-cr-134

UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )
                                    )
            v.                      )                        ORDER
                                    )
ALEXI RICARDO RAMOS (13),           )
                                    )
            Defendant.              )
____________________________________)


       THIS MATTER is before this Court upon the defendant’s motion for clarification of the

fine he should pay. (Doc. No. 1507).

       The defendant complains that the institution at which he is serving a sentence is

attempting to collect $900 in court fees, but he believes that he was only assessed $200. The

Judgment records that the Court imposed a $400 special assessment and $500 towards court-

appointed counsel fees, for a total of $900. (Doc. No. 1205 at 4).

       IT IS, THEREFORE, ORDERED that Defendant’s motion (Doc. No. 1507) is

DENIED.

       The Clerk is directed to certify copies of this Order to the defendant, counsel for the

defendant, the United States Attorney, the United States Marshals Service, and the United States

Probation Office.                                Signed: May 30, 2012




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